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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                  11/10/2020
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KAREEM NISBETT,

                                                Plaintiff,                        20-CV-6187 (LTS) (KHP)

                             -against-                                          ORDER ADJOURNING INITIAL
                                                                                   CASE MANAGEMENT
                                                                                      CONFERENCE
TASTE TRUNK, LLC,

                                                 Defendant.
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KATHARINE H. PARKER, United States Magistrate Judge:

         In light of the Notice of Voluntary Dismissal filed on November 9, 2020 (doc. no 12) the

Initial Case Management Conference currently scheduled for December 9, 2020 is hereby

adjourned sine die.

         SO ORDERED.

DATED:             New York, New York
                   November 10, 2020

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
